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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS

No. 23-MJ-8093-PGL

                              UNITED STATES OF AMERICA

                                                 v.

                                         FIROZ PATEL


                                    ORDER OF REMOVAL

LEVENSON, U.S.M.J.

       The above-named individual was arrested in the District of Massachusetts upon an arrest

warrant issued by the United States District Court for the District of Columbia. The warrant,

dated April 25, 2023, arises from a complaint alleging money laundering in violation of 18

U.S.C. § 1956(a)(1)(B)(i) and engaging in monetary transactions derived from specified

unlawful activity in violation of 18 U.S.C. § 1957(a).

       Defendant appeared before this Court on April 27, 2023, for an initial appearance,

provisionally represented by appointed counsel. Defendant waived an identity hearing and I find

that he is the person named in the arrest warrant. Defendant was informed of the procedures of

Rule 20 of the Federal Rules of Criminal Procedure.

       At the initial appearance, Defendant waived his right to an identity hearing, detention

hearing and preliminary hearing in this District and reserved his right to such hearings in the

District of Columbia. Defendant has waived further hearings in this District and has consented

to removal for future hearings in the District of Columbia. The Court finds that the waiver is

knowing and voluntary.

       ACCORDINGLY, the Court orders that Defendant be remanded to the custody of the

United States Marshal for transfer to the District of Columbia forthwith.
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       IT IS ORDERED: The United States Marshal shall transport Defendant, together with a

copy of this order, to the District of Columbia and shall deliver Defendant to the United States

Marshal for that district, or to another officer authorized to receive Defendant. The Marshal or

other officer in that district shall promptly notify the United States Attorney and the Clerk of

Court for that district of Defendant’s arrival so that further proceedings may be promptly

scheduled.

       The Clerk is directed to send the original papers in this matter to the Clerk, United States

District Court, District of Columbia.


April 27, 2023


                                              /s/ Paul G. Levenson
                                              PAUL G. LEVENSON
                                              United States Magistrate Judge




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